Case 23-10531-JCM                           Doc 49    Filed 04/17/24 Entered 04/17/24 07:50:12                           Desc Main
                                                     Document      Page 1 of 3

   Fill in this information to identify the case:

 Debtor 1              John B. Walker

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the: WESTERN DISTRICT OF PENNSYLVANIA

 Case Number              23-10531




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                              12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of Creditor: PNC Bank, N.A.                                  Court claim no. (if known): N/A

 Last four digits of any number you                               Date of payment change:
 use to identify the debtor’s account:4602                        Must be at least 21 days after date 05/10/2024
                                                                  of this notice

                                                                   New total payment:                          $227.11
                                                                   Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
       No
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
             Describe the basis for the change. If a statement is not attached, explain why:__________________________
             ________________________________________________________________________________________

                   Current escrow payment: $_________________                    New escrow payment: $_________________


  Part 2:        Mortgage Payment Adjustment

 2. Will the debtor's principal and interest payment based on an adjustment to the interest rate in the debtor's variable-rate
    note?
       No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice
              is not attached, explain why:
              ____________________________________________________________________________________________

                   Current interest rate:                                               New interest rate:
                   Current principal and interest payment:                              New principal and interest payment:


 Part 3:          Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       No
       Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification
             agreement. (Court approval may be required before the payment change can take effect.)

           Reason for change: Daily Simple Interest Accrual for Billing Period

Current mortgage payment: $210.22                                           New mortgage payment: $227.11



 Official Form 410S1                                     Notice of Mortgage Payment Change                                      page 1
Case 23-10531-JCM                       Doc 49        Filed 04/17/24 Entered 04/17/24 07:50:12                   Desc Main
                                                     Document      Page 2 of 3


     Debtor 1 John B. Walker                                             Case number (if known) 23-10531
            First Name       Middle Name            Last Name



     Part 3:      Sign Here


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state
    your address and telephone number.

    Check the appropriate box.

               I am the creditor.

.              I am the creditor’s authorized agent.


    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best
    of my knowledge, information, and reasonable belief.



    X /s/ Lucy Miller                                                             Date 04/17/2024
             Signature




    Print:        Lucy Miller                                                      Title:   Support Specialist


Company           PNC Bank, National Association

Address:          P.O. Box 94982
                  Number   Street


                  Cleveland, OH 44101-0570
                  City          State    ZIP Code


Contact Phone: 1-800-642-6323                                                      Email: bankruptcy@pnc.com




Official Form 410S1                                     Notice of Mortgage Payment Change                            page 2
Case 23-10531-JCM        Doc 49    Filed 04/17/24 Entered 04/17/24 07:50:12           Desc Main
                                  Document      Page 3 of 3

                                   UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF PENNSYLVANIA (Erie)


  IN RE John B. Walker                           Case No. 23-10531
                                                 Judge John C Melaragno
                                                 Chapter 13



                                 CERTIFICATE OF SERVICE OF
                             Notice of Mortgage Payment Change

        I, the undersigned, hereby certify that, on 04/17/2024, a true and correct copy
of the Notice of Mortgage Payment Change was electronically served upon the
following using the Court’s CM/ECF system:

Debtor’s Attorney: Tina M. Fryling
Trustee: Ronda J. Winnecour
Office of the United States Trustee

       Further, I certify that, on 04/17/2024, a true and correct copy of the Notice of
Mortgage Payment Change was forwarded via U.S. Mail, first class postage prepaid and
properly addressed, to the following at the address shown below:

John B. Walker
2590 Dorn Rd.
Waterford, PA 16441



                                                            By: /s/ Lucy Miller
                                                           Lucy Miller
                                                           PNC Bank, N.A.
                                                            PO Box 94982
                                                            Cleveland OH 44101
                                                            855‐245‐3814
